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&) KOH: USAO 2016R00148

IN THE UNITED STATES DISTRICT COURT

  
    

FOR THE DISTRICT OF MARYLAND : =
UNITED STATES OF AMERICA * “a fs
* no)
v. # CRIMINAL NO. ss -
* “The 14-032 0.
WARNER ANTONIO PORTILLO, * (Conspiracy to Produce and yansfer.
* Identification Documents Preduced» :*
Defendant * Without Lawful Authority, 18°U.S.G.
* § 1028(f); Forfeiture, 18 U.S.C.
7 §§ 981(a)(1)(C), 982(a)(2)(B)) &
* 1028(b), 21 U.S.C. § 853(p),
* 28 U.S.C. § 2461(c))
*
Rk kek ee
INFORMATION
COUNT ONE

(Conspiracy to Produce and Transfer Identification Documents
Produced Without Lawful Authority)

The United States Attorney for the District of Maryland charges that:
Introduction

At all times relevant to this Information:

1. Defendant WARNER ANTONIO PORTILLO (“PORTILLO”) was a resident
of Virginia.

2. Co-conspirator 1 and Co-conspirator 2 were employees of the Maryland Motor
Vehicle Administration ““(MVA”), an agency of the State of Maryland. Co-conspirator 1 and Co-
conspirator 2 both worked at the Largo Branch of the MVA located in Upper Marlboro, Maryland
(the “MVA Largo Branch”). Their duties included the issuance of Maryland driver’s licenses.

3. The MVA issued Maryland driver’s licenses under the authority of the State of

Maryland. Maryland driver’s licenses are identification documents issued by the government of

the State of Maryland.

 
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The Object of the Conspiracy

4. PORTILLO, Co-conspirator 1, and Co-conspirator 2, with each other and with
others known and unknown to the United States Attorney, entered into the conspiracy to produce
and transfer Maryland driver’s licenses without lawful authority for the purpose of selling
fraudulently issued Maryland driver’s licenses to individuals who were not entitled to obtain
them by lawful means (“the applicants”).

The Conspiracy

5. From in or about at least July 2015 through in or about March 2016, in the

District of Maryland, the defendant,
WARNER ANTONIO PORTILLO,
knowingly and willfully combined, conspired, confederated and agreed with Co-conspirator 1,
Co-conspirator 2, and other persons known and unknown to the United States Attorney, to
produce and transfer, and to attempt to produce and transfer, identification documents, that is
Maryland driver’s licenses, in and affecting interstate commerce, knowing that such documents
were produced without lawful authority, in violation of 18 U.S.C. § 1028(a).
Methods and Means

6. It was part of the conspiracy that PORTILLO received payment from
prospective Maryland driver’s license applicants in return for agreeing to make arrangements for
the applicants to receive Maryland driver’s licenses that were produced without lawful authority.

The applicants paid PORTILLO thousands of dollars in U.S. currency for each fraudulently

issued Maryland driver’s license.

 
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7. It was further part of the conspiracy that PORTILLO or the applicants gave Co-
conspirator 1 and/or Co-conspirator 2 the names, addresses, and other information that the
applicants wished to appear on their Maryland driver’s licenses.

8. It was further part of the conspiracy that PORTILLO gave the applicants, Co-
conspirator 1, and/or Co-conspirator 2 fraudulent documents necessary to receive a Maryland
driver’s license, including proof of payment of taxes for a two-year period, proof of Maryland
residence, and an identification document.

9. It was further part of the conspiracy that PORTILLO gave the applicants, Co-
conspirator 1, and/or Co-conspirator 2 fraudulent documents purporting to show the
applicants’ Virginia driver’s license number. In fact, the Virginia driver’s license numbers
depicted on the documents belonged to other real individuals who were not the applicants.

10. It was further part of the conspiracy that PORTILLO directed the applicants to
Co-conspirator 1’s and Co-conspirator 2’s workstations at the MVA Largo Branch for the
purpose of obtaining Maryland driver’s licenses produced without lawful authority.

11. —_ It was further part of the conspiracy that Co-conspirator 1 and Co-conspirator 2
produced and transferred to the applicants at the MVA Largo Branch Maryland driver’s licenses

that were produced without lawful authority.

18 U.S.C. § 1028(f)

 

 
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FORFEITURE ALLEGATION

The United States Attorney for the District of Maryland further finds that:

1. Pursuant to Federal Rule of Criminal Procedure 32.2, notice is hereby given to the
defendant that the United States will seek forfeiture as part of any sentence in accordance with 18
U.S.C. §§ 981(a)(1)(B), 982(a)(2)(B), and 1028(b), 21 U.S.C. § 853(p), and 28 U.S.C. § 2461(c),
as a result of the defendant’s conviction on Count One of the Information.

2. As a result of the offense set forth in Count One of the Information, the defendant,

WARNER ANTONIO PORTILLO,
shall forfeit to the United States all property constituting, or derived from, proceeds obtained,
directly or indirectly, as a result of such violation and any personal property used or intended to
be used to commit the offense.

3. If, as a result of any act or omission of any defendant, any of the property described

above as being subject to forfeiture:

a. cannot be located upon the exercise of due diligence;

b. has been transferred or sold to, or deposited with, a third person;

c. has been placed beyond the jurisdiction of the Court;

d. has been substantially diminished in value; or,

e. has been commingled with other property which cannot be divided without

difficulty;

 
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it is the intent of the United States, pursuant to 21 U.S.C. § 853(p), to seek forfeiture of any other

property of said defendant up to the value of the forfeitable property.

18 U.S.C. § 981(a)(1)(B)
18 U.S.C. § 982(a)(2)(B)
18 U.S.C. § 1028(b)

21 U.S.C. § 853(p)

28 U.S.C. § 2461(c)

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Robert K. Hur |
United States Attorney

 
